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 9   Attorneys for Plaintiff
     ZENITH INSURANCE COMPANY
10   and ZNAT INSURANCE COMPANY
11
                          UNITED STATES DISTRICT COURT
12
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                 WESTERN DIVISION
14
15   ZENITH INSURANCE COMPANY                 Civil Action No.: 2:18-cv-08479
16   and ZNAT INSURANCE COMPANY,
                                              NOTICE OF PENDENCY OF
17                                            OTHER ACTIONS OR
            Plaintiffs,                       PROCEEDINGS
18   v.
19
     AMERISOURCEBERGEN DRUG
20   CORPORATION; CARDINAL
21   HEALTH, INC.; McKESSON
     CORPORATION; PURDUE PHARMA
22
     L.P.; PURDUE PHARMA, INC.; THE
23   PURDUE FREDERICK COMPANY,
24   INC.; TEVA PHARMACEUTICAL
     INDUSTRIES, LTD.; TEVA
25   PHARMACEUTICALS USA, INC.;
26   CEPHALON, INC.; JOHNSON &
     JOHNSON; JANSSEN
27   PHARMACEUTICALS, INC.;
28   ORTHO- MCNEIL-JANSSEN          1

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 1   PHARMACEUTICALS, INC. n/k/a
     JANSSEN PHARMACEUTICALS,
 2   INC.; JANSSENPHARMACEUTICA
 3   INC. n/k/a JANSSEN
     PHARMACEUTICALS, INC.;
 4
     NORAMCO, INC.; ENDO HEALTH
 5   SOLUTIONS INC.; ENDO
 6   PHARMACEUTICALS, INC.;
     ALLERGAN PLC f/k/a ACTAVIS
 7   PLS; WATSON
 8   PHARMACEUTICALS, INC. n/k/a
     ACTAVIS, INC.; WATSON
 9   LABORATORIES, INC.; ACTAVIS
10   LLC; ACTAVIS PHARMA, INC. f/k/a
     WATSON PHARMA, INC.;
11
     MALLINCKRODT PLC and
12   MALLINCKRODT LLC.
13
                 Defendants.
14
15            Plaintiffs Zenith Insurance Company and ZNAT Insurance Company
16   (hereinafter identified jointly as “Zenith”), by and through its undersigned counsel
17   of record, hereby notifies the Court and all opposing parties pursuant to Civil Local
18   Rule 83-1.4 that the above captioned case involves the similar subject matter and
19   Defendants as another action that is presently pending in another federal district
20   court.
21   In Re: National Prescription Opiate Litigation
22            The multi-district litigation entitled In Re: National Prescription Opiate
23   Litigation, Case 17-MD-02804-DAP (“Opioid MDL”), is pending in the United
24   States District Court for the Northern District of Ohio, Eastern Division. It has
25   been assigned to the Honorable Dan Aaron Polster.
26            The Opioid MDL is a multi-district litigation for all federal cases involving
27   suits filed against prescription opiate manufacturers and distributors. These cases
28   specifically concern the alleged improper2marketing of and inappropriate

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 1   distribution of various prescription opiate medications.
 2           The Opioid MDL’s initial transfer order set forth that “the actions in this
 3   litigation involve common questions of fact, and that centralization in the Northern
 4   District of Ohio will serve the convenience of the parties and witnesses and
 5   promote the just and efficient conduct of the litigation.” Moreover, the initial
 6   transfer order provides that, “although all of the cases on the motion [to transfer]
 7   before us involve claims brought by political subdivisions, we have been notified
 8   of potential tag-along actions brought by individuals, consumers, hospitals and
 9   third party payor.” Zenith are such a third party payors that the court had
10   envisioned. A true and correct copy of the December 12, 2017 transfer order is
11   attached hereto as Exhibit A.
12   Potential Transfer of Zenith action to the Northern District of Ohio and
13   Opioid MDL
14           In the coming days, Zenith will file a motion to transfer venue pursuant to 28
15   U.S.C. § 1404 (a). Among the facts justifying such a transfer are the following: the
16   above referenced and cited transfer order from the Opioid MDL; most if not all of
17   the named Defendants in the Zenith action are Defendants in the Opioid MDL; and
18   the Zenith action contains similar allegations, based on a shared set of facts, which
19   assert claims similar or the same to those asserted by Plaintiffs currently parties to
20   the Opioid MDL. Further, transfer of the Zenith action to the Opioid MDL in the
21   ///
22   ///
23   ///
24   ///
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28   ///                                        3

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 1   Norther District of Ohio will avoid conflicts, conserve the courts’ and the parties’
 2   resources, and promote an efficient determination of all actions involved.
 3
 4
 5   Dated this 2nd day of October, 2018             GROTEFELD HOFFMANN
 6
                                                   /s/Maura Walsh Ochoa
 7
                                                       Maura Walsh Ochoa
 8                                                     Marc Polansky
                                                       Attorneys for Plaintiffs
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